     Case 1:18-cr-00762-JSR          Document 144      Filed 08/02/24      Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

      -v-                                             18-cr-762 (JSR)

 HAIT ABDUL SATAR ABDUL MANAF
 (A/K/A "HAIT ABDUL    SATTAR                         VERDICT
 BARAKZAI"),

      Defendant.


  1. On Count One, the charge of attempted distribution of heroin into the United States, we
     the jury find defendant Haji Abdul Satar Abdul Manaf, also known as Haji Abdul Sattar
     Barakzai:

     Guilty     ✓          Not Guilty _ _

     [If you find "Guilty" on Question 1, answer Question 2. Otherwise, skip Question 2.]

  2. Having found the defendant guilty on Count One, we further determine that the amount of
     mixtures or substances containing a detectable amount of heroin that the defendant
     attempted to distribute was:

              One kilogram or more    ✓

              Less than one kilogram but 100 grams or more _ _ _ __

              Less than 100 grams _ __

  3. On Count Two, the charge of drug trafficking with intent to provide something of pecuniary
     value to the Taliban, we the jury find defendant Haji Abdul Satar Abdul Manaf, also known
     as Haji Abdul Sattar Barakzai:

     Guilty     ✓           Not Guilty _ __

     [If you find "Guilty" on Question 3, answer Question 4. Otherwise, skip Question 4.]

  4. Having found the defendant guilty on Count Two, we further determine that the amount of
     mixtures or substances containing a detectable amount of heroin that the defendant
     distributed was:

              One kilogram or more    ✓
              Less than one kilogram but 100 grams or more _ __
   Case 1:18-cr-00762-JSR           Document 144     Filed 08/02/24     Page 2 of 2




             Less than 100 grams _ __

5. On Count Three, the charge of attempted drug trafficking in attempt to provide something
   of pecuniary value to the Haqqani Network, we the jury find defendant Haji Abdul Satar
   Abdul Manaf, also known as Haji Abdul Sattar Barakzai:

   Guilty ----'-✓---                Not Guilty _ _ _ __

   [If you find "Guilty" on Question 5, answer Question 6. Otherwise, skip Question 6.]

6. Having found the defendant guilty on Count Three, we further determine that the amount
   of mixtures or substances containing a detectable amount of heroin that the defendant
   attempted to distribute was:

             One kilogram or more    ,t

             Less than one kilogram but 100 grams or more _ _ __

             Less than 100 grams _ __

7. On Count Four, the charge of conspiracy to commit witness tampering, we the jury find
   defendant Haji Abdul Satar Abdul Manaf, also known as Haji Abdul Sattar Barakzai:

   Guilty     /           Not Guilty _ _ __

8. On Count Five, the charge of aiding and abetting witness tampering, we the jury find
   defendant Haji Abdul Satar Abdul Manaf, also known as Haji Abdul Sattar Barakzai:

    Guilty        ✓       Not Guilty _ _ __




                                                              FOREPERSON


                                          Date:
